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                    IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Case No. 19-cr-00098-CMA-01

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1. LEONARD LUTON,

       Defendant.


 UNITED STATES’ UNOPPOSED MOTION FOR ORDER THAT ALL SERVED TRIAL
  SUBPOENAS REMAIN IN EFFECT FOR THE FEBRUARY 10, 2020 TRIAL DATE


       On October 30, 2019, the Court granted the defendant’s unopposed request for a

30-day ends of justice continuance. ECF 71. The trial in this matter is currently

scheduled to commence on February 10, 2020. To date, government witnesses (to

include 29 custodians of records) have been served trial subpoenas for the previously

scheduled August 19, 2019 and November 4, 2019 trial dates. In addition, the

defendant may have served trial subpoenas to certain of his witnesses as well.

       To avoid expending additional resources to serve all witnesses with a third

subpoena reflecting the February 10, 2020 trial date, the government respectfully

requests that the Court issue an order directing that all trial subpoenas previously

served in this matter, by the government and by the defense, remain in effect for the

newly scheduled February 10, 2010 trial date.

       Undersigned counsel have discussed this motion with defendant’s counsel, Mr.

Mark Scabavea, Esq. Mr. Scabavea has no objection to this motion.



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     Respectfully submitted this 1st day of November, 2019.



                                      JASON R. DUNN
                                      United States Attorney


                                      s/ Martha A. Paluch
                                      MARTHA A. PALUCH
                                      SARAH H. WEISS
                                      Assistant U.S. Attorneys
                                      1801 California Street, Suite 1600
                                      Denver, CO 80202
                                      Telephone 303-454-0100
                                      Facsimile 303-454-0402
                                      Email: martha.paluch@usdoj.gov
                                      Sarah.weiss@usdoj.gov




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                               CERTIFICATE OF SERVICE


        I hereby certify that on this 1st day of November, 2019, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system that will send
notification of such filing to counsel of record.



                                           s/Martha A. Paluch
                                           Martha A. Paluch
                                           Assistant U.S. Attorney
                                           United States Attorney’s Office
                                           1801 California Street, Suite 1600
                                           Denver, CO 80202
                                           (303) 454-0100
                                           Martha.paluch@usdoj.gov




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